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Attorneys for Defendants

                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA

                                                   )   No. 3:18-cv-91-HRH
TRIUMVIRATE, LLC, et al.,                          )
                                                   )
                       Plaintiffs,                 )   NOTICE OF SETTLEMENT OF
                                                   )   PLAINTIFFS’ MOTION FOR
                       v.                          )   ATTORNEYS’ FEES AND COSTS
                                                   )   (ECF No. 85)
DAVID BERNHARDT, et al.,                           )
                                                   )
                       Defendants.                 )   Hon. H. Russel Holland


       Defendants hereby notice the Court of the attached settlement of Plaintiffs’ motion for

attorneys’ fees and costs, which entirely resolves Plaintiffs’ motion.

       Respectfully submitted this 29th day of November, 2019,


                                              JEAN E. WILLIAMS
                                              United States Department of Justice
                                              Deputy Assistant Attorney General
                                              Environment & Natural Resources Division

                                                /s/ Tyler M. Alexander
                                              TYLER M. ALEXANDER (CA Bar No. 313188)
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         Case 3:18-cv-00091-HRH Document 92 Filed 11/29/19 Page 1 of 3
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Case 3:18-cv-00091-HRH Document 92 Filed 11/29/19 Page 2 of 3
                                CERTIFICATE OF SERVICE

       I certify that on November 29, 2019, I filed the foregoing document electronically

through the Court’s CM/ECF system, which caused all parties or counsel of record to be served

by electronic means, as more fully reflected on the Notice of Electronic Filing.


                                     /s/ Tyler M. Alexander
                                       Tyler M. Alexander
                                     Attorney for Defendants




         Case 3:18-cv-00091-HRH Document 92 Filed 11/29/19 Page 3 of 3
